                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 Laura M. Walls, individually, and as       )
 Executor of the Estate of Robie W.         )
 Walls,                                     )
                                            )
               Plaintiff,                   )
                                            )     Civil Action No.: 1:20-cv-00098
        v.                                  )
                                            )
 Ford Motor Company, et al.,                )
                                            )
               Defendants                   )


                 NOTICE OF SETTLEMENT IN PRINCIPLE AND
                        WITHDRAWAL OF MOTIONS

       COMES NOW Plaintiff and Defendant Strick Trailers, LLC (“Strick”), pursuant to

Rule 6(b) of the Federal Rules of Civil Procedure and Local Rule 6.1 of the Rules of

Practice and Procedure of the United States District Court for the Middle District of North

Carolina, and respectfully notify this Court that they have reached a settlement in principle

and anticipate filing a joint motion to dismiss all claims against Strick within thirty days.

       On the basis of their agreement in principle with Plaintiff, Strick respectfully

withdraws its motions in limine [ECF Nos. 572, 574, 576, 578, 579, 581, 584, 585, 589,

592, 595, 599, filed jointly with Defendant Ford Motor Company (“Ford”) and/or

Defendant Pneumo Abex, LLC (“Abex”)], which motions in limine remain extant as

brought by Defendants Ford and/or Abex, and withdraws its joinders in the motions in

limine of Defendant Abex [ECF Nos. 612, 613, 614].




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       Respectfully submitted, this 11th day of January 2023.

                                         HAWKINS PARNELL & YOUNG LLP

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Attorneys for Plaintiff                         Attorneys for Strick Trailers, LLC




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                            CERTIFICATE OF SERVICE

      I hereby certify that, on this day, I filed the foregoing with the Clerk of Court using

the CM/ECF System, which will send notification of such filing to all parties via their

counsel of record.

      This 11th day of January 2023.

                                          HAWKINS PARNELL & YOUNG LLP

                                          By:    /s/ Douglas A. Rubel
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